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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


RAY MAGSBY                                                                      PLAINTIFFS

VS.                                               CIVIL CAUSE NO.: 4:20-cv-22-DMB-JMV

ALLSTATE VEHICLE AND PROPERTY
CASUALTY INSURANCE COMPANY                                                       DEFENDANT


                  ORDER GOVERNING PRETRIAL CONFERENCE AND
                    PREPARATION OF FINAL PRETRIAL ORDER

        The purpose of the final pretrial conference is to secure a just and speedy determination

of the issues and prepare the formal pretrial order. Counsel for all parties shall confer in person

(face to face) at their earliest convenience for the purpose of arriving at all possible stipulations

and for the exchange of copies of documents that will be offered in evidence at the trial. It shall

be the duty of counsel for plaintiff to initiate this conference, and the duty of other counsel to

respond. If, after reasonable effort, any party cannot obtain the cooperation of other counsel, it

shall be his duty to communicate immediately with the Court, sufficiently in advance of the Final

Pretrial Conference to allow resolution of the issue before counsel appears at the Final Pretrial

Conference.

        At the conference between counsel, counsel for all parties shall agree upon the real issues

each party will offer evidence to support, eliminating any issues that might appear in the

pleadings about which there is no real controversy. The parties shall agree upon issues of law as

well as ultimate issues of fact to be resolved at trial. The parties shall avoid duplication of issues

and stipulations. Any disputes will be resolved at the final pretrial conference.

        Counsel is forewarned that no party will be allowed to list in the final pretrial order any
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exhibit or witness not disclosed or produced as required by the federal rules of civil procedure

and the local rules of this court.

         Counsel for the parties shall jointly prepare a single proposed Final Pretrial Order, with

all parties’ proposed inclusions, and submit the proposed order to the magistrate judge via

email no later than SEVEN BUSINESS DAYS before the final pretrial conference is to take

place. The final edited version of the Final Pretrial Order shall be submitted to the United States

Magistrate Judge as directed by the magistrate judge at the Final Pretrial Conference. Strict

deadlines in preparing the Final Pretrial Order must be observed because this case has been set

for trial.

         Unless prior approval from the court is obtained, ALL parties and counsel must

attend and be prepared to conduct a Settlement Conference at conclusion of Final Pretrial

Conference.

         This, the 27th day of October, 2021.


                                                /s/ Jane M. Virden
                                                UNITED STATES MAGISTRATE JUDGE
